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 6   Pernell W. McGuire – SBN 015909
     M. Preston Gardner – SBN 029868
 7   Attorneys for Debtors

 8                             IN THE UNITED STATES BANKRUPTCY COURT
 9                                  FOR THE DISTRICT OF ARIZONA
10
     In re:                                           Chapter 11
11
     EVEN STEVENS SANDWICHES, LLC,                    Case No.: 2:19-bk-03236-DPC
12
     et al.                                           (Jointly Administered)
13
                                           Debtors.
14
                                                      STATUS REPORT
     This filing applies to:
15
        All Debtors
16
        Specified Debtors
17
               Even Stevens Sandwiches, LLC, Even Stevens Utah, LLC, Even Stevens
18

19   Washington, LLC, and Even Stevens Idaho, LLC (the “Debtors”), through undersigned
20   counsel, pursuant to the Court’s direction on November 2, 2020, hereby submits this status
21
     report.
22

23             The Debtors as of today are current on their quarterly fees to the United States
24
     Trustee. The quarterly fees were paid by the Debtors from their general operating account
25

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 1   ($58,000), and by virtue of a $20,000 refund from Debtors’ counsel previously paid by the
 2
     Debtors in connection with the Firm’s approved First Interim Fee Application.
 3

 4         In addition, the Debtors are continuing their negotiations with the owners of the Blue
 5
     Lemon, a Utah based restaurant with six locations, who with Take 2, LLC would acquire all
 6
     of the Debtors’ assets. Blue Lemon is finishing its due diligence and it is anticipated that
 7

 8   the Debtors will be in a position to submit an executed Asset Purchase Agreement by
 9
     December 18, 2020.
10

11         RESPECTFULLY SUBMITTED this 1st day of December, 2020.
12
                                              DAVIS MILES MCGUIRE GARDNER, PLLC
13

14
                                       By:    /s/ Pernell W. McGuire
15                                            Pernell W. McGuire
                                              M. Preston Gardner
16
                                              Attorneys for Debtors
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 2
                                   CERTIFICATE OF SERVICE

 3   I certify that on December 1, 2020, I electronically filed the foregoing STATUS
     REPORT with the Clerk of the Court for the United States Bankruptcy Court by using the
 4
     CM/ECF system.
 5
     I further certify that parties of record in this case who either are registered CM/ECF users,
 6
     or who have registered for electronic notice, or who have consented in writing to electronic
 7   service, will be served through the CM/ECF system.
 8
     I have caused a copy of the foregoing document to be mailed to:
 9
     U.S. TRUSTEE                                      Official Committee of Unsecured Creditors
10   OFFICE OF THE U.S. TRUSTEE                        c/o Snell & Wilmer L.L.P.
     230 NORTH FIRST AVENUE                            Attn: Emily G. Wagner
11
     SUITE 204                                         One Arizona Center
12
     PHOENIX, AZ 85003                                 400 E. Van Buren St., Ste 1900
     Jennifer.A.Giaimo@usdoj.gov                       Phoenix, AZ 85004-2202
13                                                     ewagner@swlaw.com;
     Janel Glynn                                       breeves@swlaw.com
14   John R. Clemency
15
     POLSINELLI                                        BS Property, LLC
     One East Washington, Suite 1200                   c/o Scott B. Cohen
16   Phoenix, AZ 85004                                 Engelman Berger, P.C.
     JGlynn@Polsinelli.com                             3636 N. Central Ave., Ste. 700
17   jclemency@polsinelli.com                          Phoenix, AZ 85012
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     lkotzin@kotzinvaluation.com                       mpr@eblawyers.com
                                                       sbc@eblawyers.com
19

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     By: /s/ Joan Stoner
24
             Joan Stoner
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